Case 1 :07-cv-02041-PLF Document 2

AO 440 (Rev. DC - September 2003) Su.mmons in a Civil Action

Filed 11/30/2007 Page 1 of1

 

RETURN(H?SERVICE

 

DATE
Service of the Summons and complaint Was made by mem

11/27/07

 

NAME or sERvER (PRINT)
Michael D.J. Eisenberq

Check one box below to indicate aggrogriate method of service

TITLE

 

Attorne¥ and co-counsel

G 'Served personally upon the defendant. Place where served:

 

 

discretion then residing therein.

Retumed unexecuted:

Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and

Name of person with whom the summons and complaint Were left:

 

 

 

 

Other (specify):

Certified mail, please see below.

 

 

 

STATEME

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USPS

DECLAl

 

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I declare under penalty of perjury under the laws
contained in the Return of Service and Statement of Service

Executedon 11£2'7£07

Date

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Address of l

Signature q 1°=l

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(1) As to who may serve a summons see Rule 4 of the Federal Rules of Civil Pnowdure.

